                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
                                                    )
UNITED STATES OF AMERICA, ex rel                    )
WILLIAM “BILL” SMITH                                )
                                                    )
                                                    )
       Plaintiff                                    )
                                                    )
v.                                                  )
                                                    ) Civil Action No. 1:18-cv-02080-APM
ATHENA CONSTRUCTION GROUP,                          )
INC, et al                                          )
                                                    )
       Defendant.                                   )
                                                    )
                                                    )

             ORDER FOR PARTIAL SUMMARY JUDGMENT [PROPOSED]


       This matter having come before this Court on the Motion for Partial Summary Judgment

filed on behalf of Defendant Athena Construction Group, Inc., for dismissal of Count V –

Violation of False Claims Act, 31 U.S.C. §3730(h) (Retaliation) of the Third Amended

Complaint and

       This court having considered Defendant Athena Construction Group’s Motion and

Memorandum in Support of Motion for Partial Summary Judgment as well as any opposition

submitted on behalf of Plaintiff William Smith and arguments put forth at hearing, it is hereby

       ORDERED

       That Partial Summary Judgment is granted as to Count V of the Third Amended

Complaint as to Defendant Athena Construction Group, and it is further

       ORDERED

       That Count V is dismissed with prejudice.
Entered this ______ day of ________ 2023   _______________________________
                                           Amit P. Mehta
                                           United States District Court Judge
